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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 AZURITY PHARMACEUTICALS, INC,

                       Plaintiff,                         C.A. No. 21-196-MSG

        v.

 ANNORA PHARMA PRIVATE LIMITED and                         [PUBLIC VERSION]
 CAMBER PHARMACEUTICALS, INC.,

                       Defendants.



             DEFENDANTS’ MOTION TO AMEND SCHEDULING ORDER

       1.      Defendants Annora Pharma Private, Ltd., and Camber Pharmaceuticals, Inc.

(collectively “Defendants”) respectfully request that the Court amend the May 9, 2022

Scheduling Order (D.I. 131) to provide sufficient time to complete fact discovery and a

commensurate extension of the deadlines thereafter. The parties agree that an amendment of the

case schedule is required, as confirmed by their stipulation seeking an interim extension of the

fact discovery deadline. D.I. 171. But they continue to disagree about the nature and length of

the required extension. Defendants’ Proposed Amended Scheduling Order is filed herewith.

       2.      The need for an extension stems from Azurity’s failure to complete its document

production by the deadline in the Scheduling Order. The Scheduling Order, as modified on

October 11, 2022 (D.I. 144), required that Azurity produce damages documents no later than

October 17, 2022. Azurity produced a mere twelve (12) documents. Defendants immediately

raised the deficiency in Azurity’s production. Despite months of costly negotiations, however,

Azurity has produced only a smidgeon of additional damages documents and its production

remains incomplete. Azurity’s failure to comply with the Scheduling Order has also delayed


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depositions. Although more than a dozen depositions have been noticed by the parties, not one

has been taken. Defendants submit that good cause supports the entry of an amended scheduling

order that serves to minimize the prejudice that Azurity’s delayed production will have on

Defendants’ ability to complete fact discovery. Further, because Defendants were forced to

spend months addressing Azurity’s failure to comply with the Court’s damages production

deadline, Defendants request the Court order reimbursement of their attorney fees associated

with the efforts to secure production of damages materials and obtain a suitable amendment of

the schedule to address Azurity’s delinquent production.

                                THE SCHEDULING ORDER

       3.     The current Scheduling Order was established last spring. A new schedule was

required because, on March 30, 2022, Azurity amended its Complaint by adding a new

Defendant, Camber, and a damages prayer for relief. D.I. 119. Before the amendment, there

were no damages sought and the case was set for a bench trial. These changes were caused by

the Court’s denial of Azurity’s motion for a preliminary injunction to prevent Defendants from

launching their enalapril oral solution ANDA product and Camber’s subsequent entry into the

market. To accommodate the addition of Camber and a damages prayer for relief, the Court

amended the scheduling order on May 9, 2022. D.I. 131. The Order (as amended by D.I. 144)

required the parties to produce damages documents by October 17, 2022.

                                  DAMAGES DISCOVERY

       4.     On May 13, 2022, Defendants served document requests directed to damages.

Ex. 1. Defendants believed Azurity’s responses to those requests were inadequate and raised its

concerns on July 19, 2022. Ex. 2. After hearing nothing, Defendants reiterated their concerns on

August 1. Ex. 3. Although Azurity responded a few days later, it failed to address the substance




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of those concerns. Ex. 4. During a discovery conference on August 24, the parties “agreed to a

reciprocal production of” (1) market analyses and projections, (2), financial analyses and

projections, (3) proposed/offered and actual purchase orders, sales, and agreements of

Epaned/enalapril oral solution, (4) communications with customers of Epaned/enalapril oral

solution, (5) documents concerning the distribution channels of Epaned/enalapril oral solution,

(6) documents sufficient to show actual/projected costs, and (7) physician feedback concerning

Epaned/enalapril oral solution. Ex. 5.

       5.      Defendants followed up with a letter on August 25 memorializing the agreement

and identifying the disputes that remained unresolved. Id. After another two weeks passed

without a response from Azurity, on September 6, Defendants requested a response. Ex. 6.

Azurity’s September 9 response did not raise any objections to Defendants’ description of the

parties’ agreement concerning a reciprocal production. Ex. 7.

       6.      On the October 17 production deadline in the Scheduling Order, Defendants

produced about 2,600 documents, which included emails from a number of new custodians.

Azurity, on the other hand, produced only 12 documents, none of which were email. Defendants

raised the issue in the days that followed, which included an extensive list of document

categories that were missing from the production (outside of a small number of isolated

documents). Ex. 8 (October 18), 9 (October 21), 10 (October 28). Azurity sought to defend its

miniscule production by arguing, among other things, that just because “Azurity’s production

was not as voluminous as Annora anticipated it would be,” does not mean it was “deficient.” Ex.

11.

       7.      After Defendants provided yet another email identifying the many missing

categories of damages documents (Ex. 12), the parties conferred on December 1 (the first date




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offered by Azurity). Azurity represented that its production was complete. Ex. 13. The parties

also discussed the need for an extension of fact discovery, both because of Azurity’s failure to

produce documents and because fact depositions had not yet been taken (or even scheduled). See

Ex. 14.

               AZURITY’S DAMAGES PRODUCTION REMAINS INCOMPLETE

          8.     During the parties’ discussions, Azurity wrongly maintained that it already

produced its damages documents back in 2021, such that its production of 12 documents in

October complied with the Scheduling Order. First, damages were not even part of the case at

that time and Defendants had not yet served their damages document requests to inform Azurity

of the scope of documents that required collection. Second, many such documents did not yet

exist, including documents related to the launch of Defendants’ product that occurred months

later. Third, to Defendants’ knowledge, Azurity never searched documents from any custodians

likely to be in possession of such damages information when it collected liability documents (and

the liability production did not contain any emails from such personnel).1 Instead, the few

documents Azurity identified as representing its 2021 damages production were—outside of

three emails to the sales team—those that Azurity provided its expert declarant to review

regarding the issue of irreparable harm in support of its preliminary injunction motion. Compare

Ex. 15 with Ex. 16 (listing of materials considered by Dr. Stec). Fourth, Azurity forgets that the

entire reason the parties negotiated a reciprocal production of damages documents in August

2022 was because Azurity refused to produce the documents subject to the parties’ compromise

agreement. See, e.g., Ex. 2. If Azurity had already produced them, its responses would be


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  Defendants asked Azurity to identify “the custodians and locations from whom/where [Azurity]
collected” its alleged 2021 damages production. Azurity refused to do so. Ex. 15 (“With regards
to your demand that Azurity identify the steps it took to collect the above documents, as we have
previously discussed, Defendants are not entitled to discovery on the discovery process.”).

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nonsensical.

         9.      As it stands, we are nearly three months past the October 17 production deadline

and Azurity has produced only a few dozen documents that allegedly relate to damages. To be

sure, some of these documents include market share and sales data, high-level cost data,2 and a

couple power point presentations concerning Epaned® (the brand name product marketed by

Azurity). But the production did not include any email from custodians reasonably likely to have

information responsive to Defendants’ document requests. Further, Azurity’s production does

not include the following categories of documents specifically requested by Defendants:

         a.      internal market analyses, documents analyzing the impact of various competitive

factors on the market, including but not limited to the Bionpharma, authorized AG, and Annora

products (RFP Nos. 48, 50, 51, 67, 70) (Ex. 1);

         b.      internal analyses of the financial performance of Epaned® and the impact of

various competitive factors on the financial picture for that product, including but not limited to

the Bionpharma, authorized generic (“AG”) product, and Annora products (RFP Nos. 49, 50, 51,

67, 70);

         c.       documents concerning pricing strategy (Req. No. 54), including any changes to

the pricing of Epaned® and the underlying analysis and reasons for such changes;

         d.      representative samples of advertising and promotional materials, including

samples adequate to show any changes to advertising strategy from 2020 to present;

         e.      marketing plans, memos, budgets, and internal emails, including documents

analyzing the impact of various competitive factors on the market, including but not limited to

the Bionpharma, AG product, and Annora products (RFP Nos. 48, 50, 51, 67, 70);



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    Without any depositions, Defendants are unable to assess the completeness of cost data.

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        f.      documents concerning marketing, detailing, and advertising of Epaned (Req. No.

53) such as documents concerning the “share of voice” held by Plaintiff for Epaned, documents

addressing Plaintiff’s strategy for promoting and/or differentiating Epaned® from other products,

any sales force training manuals or presentations (commonly given at conferences with such

personnel), detailing reports, product discounts/promotions/rebates, or memoranda concerning

any changes to such strategies, or the amount of resources allocated thereto);

        g.      documents related to its agreements with Amneal allowing it to sell an authorized

generic (outside of the agreements themselves), including internal and external correspondence

related to those agreements, the launch of the AG product, including timing thereof (see RFP

Nos. 20, 68, 69, 71, 72, 74); and

        h.      numerous documents concerning its lost profits claim, including but not limited to

those that relate to Azurity’s contentions that (i) it was required to launch an authorized generic

product because of Annora’s infringement, (ii) it was forced to take measures to limit its

salesforce growth based in part on Epaned losing its status as Azurity’s anchor product, (iii)

[Generic competition made] it harder for Azurity to secure funding and financing through loans

or by finding investors, and (iv) it had to make budget cuts because it failed to hit revenue targets.

                             THE DISCOVERY DISPUTE PROCESS

        10.     On December 7, Defendants formally initiated the Court’s discovery dispute

process to resolve the problems with Azurity’s damages production. See Ex. 17. Azurity refused

to agree on the nature of the disputes and whether the parties had reached an impasse, preventing

Defendants from raising the issues with the Court. Instead, Azurity slowly backtracked on its

position by agreeing, in a piecemeal fashion, to produce most of the documents Defendants

requested (including many Azurity had already agreed to produce during the August meet and




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confer). See Ex. 18, 19, 20.

       11.     Disputes remained, however, and Defendants provided Azurity with a revised

joint discovery dispute letter for submission to the Court on December 15. Ex. 21. This letter

included a request for an extension of fact discovery that would afford Defendants the same

amount of time to conduct discovery after receiving damages production as that contemplated by

the Scheduling Order (which was about 13 weeks). Id.3 Azurity again refused to agree to

submission of the letter, even though it rejected Defendants’ requested extension. Ex. 22.4

       12.     On December 19, the parties again conferred on the issues of document

production and an extension of the schedule. In an effort to move discovery forward and

maintain the current trial date, Defendants proposed a schedule that substantially squeezed the

time permitted for all remaining case activities. Ex. 24. These aggressive time frames were

premised on two important conditions: Azurity would agree to (1) a date certain by which it

would produce its damages documents (which would be used to determine the appropriate date

for the close of fact discovery), and (2) limit the number of fact depositions. Id.; see also Ex. 26,

27. While Azurity said it would endeavor to produce documents by January 6, it refused to

commit to that date or accept a limitation on depositions. See Ex. 28. Azurity later informed

Defendants that its production would be delayed until January 13 (the day fact discovery is

scheduled to close). Ex. 29 (confirming Azurity “will produce all documents by or before next



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  One of the remaining disputes involved Defendants’ request that Azurity commit to a date
certain by which it would produce its long-awaited damages documents. Id. Further,
Defendants explained the parties could continue trying to resolve their disputes after filing a joint
letter, but Defendants could not afford to continue delaying initiation of the dispute process.
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  Meanwhile, on December 20, Azurity unilaterally moved to strike an interrogatory response
and moved for a protective order, both of which were fundamentally discovery disputes filed in
violation of Paragraph 8(h) of the Scheduling Order. The discovery implicated by those motions
also overlapped with the topics Defendants had included in the proposed joint letter on
December 7. See Ex. 23.

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Friday, January 13”).

       13.     With the fact discovery deadline days away and the parties at a clear impasse,

Defendants informed Azurity they would file a motion to amend the schedule. Azurity

responded with further efforts to delay—suggesting the motion was premature because the

parties had not yet met and conferred. Ex. 30 (“you have not properly met and conferred

regarding such a schedule”). Azurity followed up late the night before the parties conferred with

a proposal that included an even later production deadline of January 27. Ex. 31.

       14.     Because of Azurity’s continued failure to produce damages documents, it was

clear that it would not be possible to maintain the existing trial date. Defendants provided a

proposed case schedule, which incorporated Azurity’s new damages production deadline and

adjusted the remaining schedule accordingly. Ex. 32. Specifically, solely to accommodate

Azurity, Defendants’ proposal cut the time period for discovery after Azurity’s new production

deadline by about 5 weeks compared to the time allowed under the current Scheduling Order,

and similarly cut the time for the completion of dispositive motions by 5 weeks. Azurity did not

agree to Defendants’ proposal.

                          DEFENDANTS’ PROPOSED SCHEDULE

       15.     An extension of fact discovery is necessary to avoid prejudicing Defendants due

to Azurity’s failure to comply with the October 17 production deadline. It is also necessary to

provide time for depositions of more than a dozen witnesses and 30(b)(6) depositions of three

parties, none of which have been scheduled or taken. For example, Defendants noticed the

depositions of Azurity, the four individuals identified in its initial disclosures, and one additional

damages witness. Azurity has noticed the depositions of Annora, Camber, the three individuals

identified in Defendants’ initial disclosures, and five additional witnesses. In addition,




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Defendants have served two third-party subpoenas that are still being pursued and understands

an additional subpoena may be required as a result of an undisclosed change in the majority

owner of Azurity (which appears to be an active partner with Azurity). Further, a number of

remaining concerns with Azurity’s responses to Defendants’ Rule 33 and Rule 34 discovery

requests remain unresolved. Accordingly, despite Defendants’ diligent efforts to secure

Azurity’s production of damages documents they have not yet been produced and good cause

supports the requested amendment. Fed. R. Civ. P. 16(b)(4).

       16.     Azurity incorrectly argues that it would be unfairly prejudiced by a later trial date

because it seeks an Order that would force Defendants to exit the market. First, the status of this

case is a result of Azurity’s failure to collect and produce damages documents as required by the

case schedule. It would unfairly prejudice Defendants if Azurity’s delays prevented Defendants

from obtaining discovery to which they are entitled. Second, Defendants are one of three

companies that currently sell a generic enalapril product—which includes Amneal’s AG product.

Even if Azurity were to prevail on the merits at trial, it will still face generic competition by its

own doing. Third, Azurity’s proposed schedule fails to provide adequate time for the remaining

case activities, and would unjustifiably penalize Defendants for their adversaries’ violation of the

Scheduling Order. See Tracinda Corp. v. DaimlerChrysler AG, 502 F.3d 212, 242 (3d Cir.

2007) (balancing fault between parties to determine who should bear the expenses imposed by a

parties’ failure to comply with production deadline); see also Ex. 33 (comparison of the parties’

proposals). Accordingly, Defendants request the Court to enter their proposed amended

scheduling order.




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                 AN AWARD OF FEES IS APPROPRIATE UNDER RULE 16

         17.     Defendants further request that the Court order Azurity to reimburse Defendants

 for the attorney fees incurred to address Azurity’s failure to comply with the damages production

 deadline. Rule 16(f) empowers court to “issue any just orders, including those authorized by

 Rule 37(b)(2)(A)(ii)–(vii), if a party or its attorney . . . fails to obey a scheduling or other pretrial

 order.” It also establishes a mandatory remedy for a violation: “the court must order the

 [offending] party, its attorney, or both to pay the reasonable expenses—including attorney’s

 fees—incurred because of any noncompliance with this rule, unless the noncompliance was

 substantially justified or other circumstances make an award of expenses unjust.” See Southco,

 Inc. v. Fivetech Tech., Inc., No. 10-cv-1060, 2017 WL 2079882, at *10 (E.D. Pa. May 15, 2017)

 (awarding sanctions for untimely motion for summary judgment because “sanctions for

 noncompliance with Rule 16 pretrial orders are required and appropriate absent a showing that

 the violation was substantially justified or the award of expenses is unjust under the

 circumstances of the case.”) (internal quotations omitted).

         18.     Defendants worked to resolve this issue months ago, to no avail. Azurity’s failure

 to collect and produce damages documents was not substantially justified and forced Defendants

 to undertake extensive efforts to resolve the issue, including lengthy correspondence, multiple

 discovery conferences, and the filing of this motion. Azurity, and not Defendants, should bear

 those costs.5 Hioutakos v. SimplexGrinnell, No. 2:10–4505, 2014 WL 1255197 (D.N.J. March

 26, 2014) (“Where one party has violated a court order and delayed proceedings, awarding the

 excess costs caused by that conduct to the innocent party may restore the balance of equity


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   Alternatively, the Court should issue an order to show cause requiring Azurity to show cause
 for its failure to comply with the damages production deadline, including identification of the
 person(s) responsible for the decisions resulting in its violation of the Scheduling Order,
 including but not limited to the position that email production is not required for damages.

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 between the parties.”); St. Clair Intellectual Prop. Consultants, Inc. v. Motorola Mobility, LLC,

 292 F.R.D. 162, 166 (D. Del. 2013) (awarding fees where party willfully disregarded the

 Scheduling Order based on its pending motion to stay, even though the stay was ultimately

 granted).



 Date: January 13, 2023                               /s/ Ronald P. Golden III
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                                       RULE 7.1.1 CERTIFICATE

         I hereby certify that the subject of the foregoing motion has been discussed with counsel for

 Plaintiff and the parties were unable to reach agreement on the motion.

 Dated: January 13, 2023


                                                  /s/ Ronald P. Golden III
                                                  Ronald P. Golden III (#6254)




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